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                                                                                 March 300, 2023
VIAECF
United States District Cow1
Southern District of New York
Attn: Hon. Paul A. Engelmayer, U.S.D.J.
40 Foley Square, Courtroom 1305
New York, NY 10007-1312

       Re:     Avi & Co NY Corp. v. ChannelAdvisor Corp.
               Case No.: 1:22-cv-10599 (PAE) (SLC)
               MLLG File No.: 174-2022

Dear Judge Engelmayer:

        This firm represents the Plaintiff in the above-referenced case. Plaintiff writes to
respectfully seek an extension of time of the briefing schedule related to Defendant's motion to
transfer venue and to dismiss set forth in this Court's March 9, 2023 Order.

         Pursuant to 'if I(E) of this Couti's Individual Rules and Practices in Civil Cases, Plaintiff
submits that: (i) the original dates for Plaintiff to respond to the motions and for Defendant to
submit a reply in further support are March 23, 2023 and March 29, 2023, respectively, and the
new dates the parties seek are April 17, 2023 and May 17, 2023, respectively; (ii-iii) there have
been no previous requests for an extension of time of these deadlines; (iv) Defendant previously
consented to the requested briefing schedule, but has since then recanted its consent, but has stated
that it does not object to the requested extension; and (v) the requested extension of time does not
affect any other scheduled dates as the patties have not yet conducted a conference pursuant to
Rule 16 of the Federal Rules of Civil Procedure.

        The reason for the request (and why it was not made sooner) is that, among other deadlines
and appearances, Plaintiff's counsel was before the Hon. Pamela K. Chen, U.S.D.J. on a hearing
for a preliminary injunction which your undersigned spent significant time preparing for over the
last couple of weeks. In addition, your undersigned is currently preparing for trial before the Hon.
Lorna G. Schofield, U.S.D.J. which is scheduled to commence in early May. As a result, your
undersigned was unable to submit the instant letter motion sooner. Plaintiff therefore respectfully
submits that there exists both good cause and excusable neglect for granting the requested
extension of the briefing schedule. See Fed. R. Civ. P. 6(b)(l)(B).

         Accordingly, Plaintiff's consent letter motion for an extension of time to submit opposition
and reply briefs on Defendants' motions should be granted. Plaintiff thanks this honorable Cou11
for its time and attention to this case.




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Hon. Paul A. Engelmayer, U.S.D.J.
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Dated: Lake Success, New York
       March 30, 2023                   Respectfully submitted,

                                        MILMAN LABUDA LAW GROUP PLLC


                                                 Is
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VIAECF
MORNINGSTAR LAW GROUP
Attn: Jeffrey L. Roether
                                    The Court has received plaintiff's request for an extension.
700 West Main St.
                                    The Court is dismayed by plaintiff's failure to meet its
Durham, NC 27701-2801
                                    deadline to respond to the motion to transfer. The Comt will
(919) 590-0368 (office)
                                    permit plaintiff to be heard, but, in light of plaintiff's failure
(919) 882-8890 (facsimile)
                                    to request an extension before the deadline had passed, is
jroether@morningstarlawgroup.com
                                    prepared to grant only a limited extension. Plaintiff's
                                    opposition to the motion to transfer is due April 6, 2023.
Attorneys for Defendant             Defendant's reply, if any, is due April 13.
Channe/Advisor Corporation
                                    The Court respectfully directs the Clerk of the Court to
                                    vacate the order at docket 20 and reopen the motion to
                                    transfer at docket 13. The Cou1t will retain this case, pending
                                    the completion of briefing and its renewed resolution of the
                                    motion to transfer.

                                    SO ORDERED.




                                                            PAUL A. ENGELMA YER
                                                            United States District Judge




                                                            March 30, 2023

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